                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA


 UNITED STATES OF AMERICA                             )
                                                      )      Case No. 1:12-cr-129-HSM-SKL
                                                      )
 v.                                                   )
                                                      )
 ANTHONY LONG                                         )


                                            ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the six-count Second

 Superseding Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the

 charge in Count One, that is of conspiracy to distribute a mixture and substance containing a

 detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21

 U.S.C. §§ 846 and 841(b)(1)(C); (3) adjudicate Defendant guilty of the lesser included offense of

 the charge in Count One of the Second Superseding Indictment, that is of conspiracy to distribute

 a mixture and substance containing a detectable amount of methamphetamine, a Schedule II

 controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C); (4) defer a decision on

 whether to accept the plea agreement until sentencing; and (5) find Defendant shall remain in

 custody until sentencing in this matter [Doc. 569]. Neither party filed a timely objection to the

 report and recommendation. After reviewing the record, the Court agrees with the magistrate

 judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation [Doc. 569] pursuant to 28 U.S.C. § 636(b)(1) and

 ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Second



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             Superseding Indictment is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

             that is of conspiracy to distribute a mixture and substance containing a detectable

             amount of methamphetamine, a Schedule II controlled substance, in violation of 21

             U.S.C. §§ 846 and 841(b)(1)(C) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count One, that is of conspiracy to distribute a mixture and substance containing

             a detectable amount of methamphetamine, a Schedule II controlled substance, in

             violation of 21 U.S.C. §§ 846 and 841(b)(1)(C).

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Monday, August 18, 2014 at 2:00 p.m. before the

             Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:


                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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